Case: 1:23-cv-03423 Document #: 27 Filed: 09/18/23 Page 1 of 3 PagelD #:200

C00075

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

STEVEN ZAHAREAS,
Plaintiff

Va

KWAME RAOUL, Illinois Attorney General, in
his official capacity, BRENDAN F. KELLY,
in his official capacity as Director of the Illinois

) Case No. 1:23-cv-03423

)
)
)
)
)
)
)

State Police; JEFFREY YENCHKO, in is official )

capacity as Bureau Chief of the Illinois State Po-

lice Firearms Bureau, ELIZABETH LEAHY, in

)
)

her official capacity as Illinois State Police Firearm)
Safety Officer Counsel, and JOSE G. CENTENO, )

Defendants

)

Judge: M. Pacold

Magistrate: H. McShain

JOINT INITIAL STATUS REPORT

Pursuant to Judge Pacold's Standing Order, the parties submit this instant Joint Initial Status

Report:
1. The Nature of the Case:
A. Plaintiff, Steven Zahareas is represented by:

Charles Wm. Dobra, Esq.
CHARLES WM. DOBRA, LTD.
Attorney at Law

675 East Irving Park Road, Suite 103
Roselle, Illinois 60172

Tel. (630)893-2494

Fax. (630)893- 2497

Email: CWDaob dobral: astBiz net
ARDC: 40647039/Kane County

Du Page County: 29320

Cook County: 26755

Winnebago: 8219

All state Defendants are represented by:
Case: 1:23-cv-03423 Document #: 27 Filed: 09/18/23 Page 2 of 3 PagelD #:201

Mary A. Johnston, Esq.

Office of the Illinois Attorney General
100 West Randolph Street, 13" Floor
CinpagS, Illinois ee

Email: mary honston@ilag gx

Defendant Jose G. Centeno is represented by:

Anthony G. Becknek, Esq. & Daniel W. Bourgault, Esq.
Klein, Thorpe & Jenkins, Ltd.

120 S. LaSalle Street — Suite 1710

Cees, IL 60603

Email: ; kneck@ktlaw

Tel. (312)984- 6400

B. False arrest; constitutionality of a portion of the Illinois Statutes and Code of Administrative
Procedure.

C. Whether the identified portions of the Illinois Statutes and Code of Administrative Procedure are
unconstitutional. Whether Plaintiff has properly plead malicious abuse of process and whether Plaintiff
has properly plead false arrest. A further issue, from Defendant's perspective, is whether arguable
probable cause existed for Plaintiff's arrest and whether Defendant Centeno is entitled to qualified
immunity.

D. Monetary relief from Defendant Centeno and a finding that portions of the Illinois Statutes and
Code of Administrative Procedure are unconstitutional, and for injunctive relief in connection with the
state Defendants.

2. Jurisdiction
A. 28 USC Sec. 1331, 1343, 2201, 2202

B. 28 USC Sec. 1983
3. Status of Service:

All parties have been served and have appeared by their respective counsel.
4. Consent to Proceed Before a United States Magistrate Judge:

There is no agreement to proceed before a U.S. Magistrate Judge, and no such agreement is anticipated.
5. Motions

A. None pending at this time. However, as of the date of the preparation of this document, counsel for

Plaintiff has been advised that each opposing counsel intend to file a motion to dismiss, on or about
September 15, 2023.
Case: 1:23-cv-03423 Document #: 27 Filed: 09/18/23 Page 3 of 3 PagelD #:202

Upon filing of such motion(s), the parties would agree, subject to approval of the Court, to the
following briefing schedule:

a. Plaintiff's response due on October 20, 2023;
b. Defendant reply due on November 10, 2023;

Because Defendants will be filing motions to dismiss, it is the position of the Defendants that a stay of
discovery would be appropriate, and would file a separate motion requesting a stay if the Court desires.
It is the position of Plaintiff that should the Court grant such an Order, that that Order exclude the
obligation of the state Defendants to produce an unredacted copy of Defendant CENTENO's “clear and
present danger” report.

Additionally, counsel for Defendant CENTENO has advised that he will file a Motion for a Protective
Order, and also ask that discovery be stayed. Counsel for CENTENO has also suggested a briefing
schedule for same. See: position of Plaintiff as stated in preceding paragraph.
B. Defendants will respond by filing an Answer to the Complaint.

6. Status of Settlement Discussions:
A. No settlement discussions have occurred thus far.

B. None.

C. From Plaintiff's perspective, a future settlement conference is perceived to be beneficial. It is the
belief of the Defendants that a settlement conference is necessary at this time.
